                                                                                          Case 1:25-cv-10676-BEM                                                                                                                                                                                         Document 90-2         Filed 05/07/25   Page 1 of 5


     From:                                                                                                                                                                                                                                                                  Dan, Jacqueline
     To:                                                                                                                                                                                                                                                                    Trina Realmuto
     Cc:                                                                                                                                                                                                                                                                    matt@nwirp.org; Anwen Hughes; Tin Nguyen
     Subject:                                                                                                                                                                                                                                                               RE: DVD v. DHS - notice of third country removal
     Date:                                                                                                                                                                                                                                                                  Wednesday, May 7, 2025 11:39:43 AM
     Attachments:                                                                                                                                                                                                                                                           image001.png


Thanks for your quick response, Trina.

I’m looping in the other attorney organizer, Tin Nguyen, who just filed the G-28 for the Vietnamese
person that I was supposed to have a VAV appointment with later today. Early this morning a little
after 4 a.m. PST (so 6 a.m. CST where the facility is), I received a cancellation e-mail from the facility,
with their reason being that he is no longer in custody there.

Unfortunately, neither of us has been able to speak directly to this detainee. Tin spoke to his partner
about what he told her happened two days ago. Also, given that this detainee isn’t fluent in English,
I’m curious as to how the facility fulfilled the requirement that notice be provided to him in a
language that he understood.

From: Trina Realmuto <trina@immigrationlitigation.org>
Sent: Wednesday, May 7, 2025 7:48 AM
To: Dan, Jacqueline <Jacqueline.Dan@ocpubdef.com>
Cc: matt@nwirp.org; Anwen Hughes <hughesa@humanrightsfirst.org>
Subject: RE: DVD v. DHS - notice of third country removal
Jacquel ine – The re i s s ome me dia intere st (R euters & CNN) i n th e po tential fli ghts to Li bya. Are yo u i nteres ted in speaki ng wi th them ab out how DHS is “n otifyin g” DV D class membe rs of po tential thi rd co untry d eport s to Libya? Tr ina Trina




Jacqueline –

There is some media interest (Reuters & CNN) in the potential flights to Libya. Are you
interested in speaking with them about how DHS is “notifying” DVD class members of
potential third country deports to Libya?

Trina

                                                                                                                                                                                                                                               Trina Realmuto
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From: Trina Realmuto
Sent: Wednesday, May 7, 2025 8:01 AM
To: Dan, Jacqueline <Jacqueline.Dan@ocpubdef.com>
Cc: matt@nwirp.org; Anwen Hughes <hughesa@humanrightsfirst.org>
Subject: RE: DVD v. DHS - notice of third country removal

Hi Jacqueline,



                                                                                                                                                                                                                                                                                                                                                    EXHIBIT B
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Thank you for reaching out. We heard about the Laotian man and reached out to American
Gateways and we heard the same rumor of deportation to Saudia Arabia (in his case) or Libya
(in another), consistent with NY Times reporting.

We are concerned about this situation and potential violations of the court order in DVD.

FYI, as you probably know, on April 18, 2025, the district court certified a nationwide class as
defined as:

All individuals who have a final removal order issued in proceedings under Section 240, 241(a)
(5), or 238(b) of the INA (including withholding-only proceedings) whom DHS has deported or
will deport on or after February 18, 2025, to a country (a) not previously designated as the
country or alternative country of removal, and (b) not identified in writing in the prior
proceedings as a country to which the individual would be removed.

As to this class, the Court issued the following preliminary injunctive relief:

Prior to removing any [noncitizen] to a third country, i.e., any country not explicitly provided
for on the [noncitizen]’s order of removal, Defendants must:
(1) provide written notice to the noncitizen —and the noncitizen’s immigration counsel, if
any—of the third country to which the noncitizen may be removed, in a language the
noncitizen can understand;
(2) provide meaningful opportunity for the noncitizen to raise a fear of return for eligibility for
CAT protections;
(3) move to reopen the proceedings if the noncitizen demonstrates “reasonable fear”; and
(4) if the noncitizen is not found to have demonstrated “reasonable fear,” provide meaningful
opportunity, and a minimum of 15 days, for that noncitizen to seek to move to reopen
immigration proceedings to challenge the potential third-country removal.

The government appealed the preliminary injunction and moved for an emergency stay to
prevent it from remaining in effect. Briefing was completed on May 1 and we expect a
decision from the First Circuit any day now.

On April 30, 2025, the court amended the PI to mandate the provision of class protections
prior to any removal from Guantanamo Bay or ceding custody or control in a manner that
prevents provision of those protections.

I am attaching both the class cert and PI order and the modification to the PI.

Would it be possible for someone on your staff to send ICE a copy of the P.I. and amendment
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to it? In answer to your question, yes, the filing of the G-28 should trigger the obligation to
notify counsel. Importantly, we have concerns about the notice. Will you please send us a
redacted copy of any notice the volunteer attorney receives so we can raise concerns with
opposing counsel and the court if need be.

Thank you,

Trina

              Trina Realmuto
              National Immigration Litigation Alliance
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              www.immigrationlitigation.org
              Facebook: NatlImmLitAlliance / LinkedIn




From: Dan, Jacqueline <Jacqueline.Dan@ocpubdef.com>
Sent: Wednesday, May 7, 2025 2:36 AM
To: Trina Realmuto <trina@immigrationlitigation.org>
Subject: RE: DVD v. DHS - notice of third country removal

Hi Trina,

I’m working with a collective of Vietnamese American attorneys and organizers through a project
housed by CCIJ to assist with Vietnamese immigrants with really old final orders of removal who
were recently detained by ICE.

What we’re hearing from relatives is that, yesterday, ICE officers at the South Texas Detention
Facility gathered 1 Vietnamese detainee, along with 5 others (including 1 from Laos) into a room and
told them that they needed to sign a document agreeing to be deported to Libya. When they all
refused, they were each put in a separate room and cuffed in (basically, solitary) in order to get
them to sign it.

This particular Vietnamese detainee was told that he’d be deported to Libya anyway next week, and
another Vietnamese detainee was told that he’d be deported to Libya this Saturday. We are pretty
sure that ICE requested travel documents from Vietnam around 3/25 for a group of detainees that
included these men, and my guess is that Vietnam told they U.S. that they denied travel documents
to these men within the 30-day period required for a response.

I have an appointment scheduled to speak with the first detainee on video tomorrow evening, and
will schedule another appointment with the other Vietnamese detainee as soon as possible.

We have a volunteer attorney who can file G-28’s for each detainee if they agree. Question – per
your e-mail, as soon as he files the G-28, ICE is supposed to serve him with this 1-page notice?
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Please let me know if there’s any other important information that you recommend gathering.

And thank you for all your very important work.

Jacqueline


From: padilla-case-review@ILRC.groups.io <padilla-case-review@ILRC.groups.io> On Behalf Of Holly
Cooper via groups.io
Sent: Thursday, May 1, 2025 12:11 PM
To: padilla-case-review@ILRC.groups.io
Subject: [padilla-case-review] Fw: DVD v. DHS - notice of third country removal
From: d etentio naccou ntabi lity@ googl egroup s. com <d etenti onacco untabi lit y@ googl egroup s. com> o n b ehalf o f Tri na R ealmuto <tri na@ immi gration liti gation . org> Sent: Thu rsday, May 1, 2025 11: 22 AM To: d etentio naccou ntabi lity@ googl egroup s. com




From: detentionaccountability@googlegroups.com <detentionaccountability@googlegroups.com>
on behalf of Trina Realmuto <trina@immigrationlitigation.org>
Sent: Thursday, May 1, 2025 11:22 AM
To: detentionaccountability@googlegroups.com <detentionaccountability@googlegroups.com>
Subject: DVD v. DHS - notice of third country removal

The DVD team believes that DHS has begun notice of removal to a third country using a one-
page notice and, in some cases, a 2001 form advising of the RF process.

If you have received one of these notices (counsel is supposed to be served with them under
the injunction), please could you email me a redacted copy of the notice.

Thanks, Trina

                                                                                                                                                                                                                                   Trina Realmuto
                                                                                                                                                                                                                                   National Immigration Litigation Alliance
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